                                                                                     Case 2:21-cv-00284-JCM-VCF Document 48 Filed 07/08/22 Page 1 of 9




                                                                                 1 Brooke A. Bohlke
                                                                                   Nevada Bar No. 9374
                                                                                 2 Nicholas F. Adams
                                                                                   Nevada Bar No. 14813
                                                                                 3 WOOD, SMITH, HENNING & BERMAN LLP
                                                                                   2881 Business Park Court, Suite 200
                                                                                 4 Las Vegas, Nevada 89128-9020
                                                                                   Phone: 702 251 4100 ♦ Fax: 702 251 5405
                                                                                 5 bbohlke@wshblaw.com
                                                                                   nadams@wshblaw.com
                                                                                 6
                                                                                   Attorneys for Defendant Cheap Tech Guys LLC
                                                                                 7

                                                                                 8                                   UNITED STATES DISTRICT COURT

                                                                                 9                            DISTRICT OF NEVADA, SOUTHERN DIVISION

                                                                                10

                                                                                11 MICROSOFT CORPORATION, a                             Case No. 2:21-cv-00284-JCM-VCF
WOOD, SMITH, HENNING & BERMAN LLP




                                                                                   Washington Corporation,
                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405
                                    2881 BUSINESS PARK COURT, SUITE 200




                                                                                12                                                      STIPULATION AND ORDER TO
                                        LAS VEGAS, NEVADA 89128-9020




                                                                                                  Plaintiff,                            CONTINUE RE: [35] MOTION TO
                                                                                13                                                      COMPEL HEARING (First Request)
                                                Attorneys at Law




                                                                                          v.
                                                                                14                                                      Trial Date:           None Set
                                                                                   CHEAP TECH GUYS LLC, a Nevada
                                                                                15 Limited Liability Company,

                                                                                16                      Defendant.

                                                                                17
                                                                                              IT IS HEREBY STIPULATED by and between Plaintiff, MICROSOFT CORPORATION
                                                                                18
                                                                                     ("Plaintiff") by and through its counsel of record, the law firms of Greenberg Traurig, LLP and
                                                                                19
                                                                                     Davis Wright Tremaine, LLP, and Defendant, CHEAP TECH GUYS LLC ("Defendant"), by and
                                                                                20
                                                                                     through its counsel, the law firm of Wood, Smith, Henning & Berman, LLP, that the hearing on the
                                                                                21
                                                                                     Motion to Compel Hearing re [35] be continued currently set for Monday, July 11, 2022 to
                                                                                22
                                                                                     Wednesday, November 2, 2022 based upon the instant STIPULATION AND ORDER TO
                                                                                23
                                                                                     CONTINUE RE: [35] MOTION TO COMPEL HEARING (First Request). As contemplated
                                                                                24
                                                                                     by LR IA 6-1, this extension is requested for good cause as discussed below:
                                                                                25
                                                                                     A.       Procedural History:
                                                                                26
                                                                                              On June 9, 2022, the Parties appeared via video conference regarding the requested hearing
                                                                                27
                                                                                     on Plaintiff’s Motion to Compel [Doc 35].
                                                                                28

                                                                                     25084640.1:10836-0086                                           Case No. 2:21-cv-00284-JCM-VCF
                                                                                                             STIPULATION AND ORDER TO CONTINUE MOTION HEARING
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                                                                                 1            As set forth in the Minutes of Proceedings [Doc 46]:

                                                                                 2            1.        The Court continued the hearing to July 11, 2022 at 1 p.m.

                                                                                 3            2.        The Court required that the hearing be conducted in person on that date and time.

                                                                                 4            3.        The Court ordered the representative of Cheap Tech Guys LLC, John Giannone, to

                                                                                 5                      be present.

                                                                                 6            4.        The Court further ordered that the full insurance policy and either a privilege log or

                                                                                 7                      unredacted documents by produced by June 16, 2022.

                                                                                 8 B.         Compliance with Court Order:

                                                                                 9            1.        Defendant has since produced the full insurance policy, a privilege log, and 453

                                                                                10 pages of unredacted documents.

                                                                                11            2.        Plaintiff is currently reviewing those documents. To the extent that there are any
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405
                                    2881 BUSINESS PARK COURT, SUITE 200




                                                                                12 unresolved discovery issues after the document review, counsel for Plaintiff and Defendant have
                                        LAS VEGAS, NEVADA 89128-9020




                                                                                13 agreed to meet and confer at a mutually agreeable time. The document review and meet and confer
                                                Attorneys at Law




                                                                                14 meeting (if necessary) cannot practically be completed by the current July 11, 2022 hearing date.

                                                                                15 C.         Basis for the Request for Continuance:

                                                                                16            1.        Since the June 9, 2022 hearing, counsel have been negotiating the logistics for an

                                                                                17 outside insurance coverage applicability opinion to be followed by a mediation because the coverage

                                                                                18 opinion is necessary in order to facilitate effective settlement discussions.

                                                                                19            2.        The Parties previously had a mediation scheduled with Mediator Judge Glass [ret.]

                                                                                20 on July 13, 2022, but agreed to continue it in order to address the outstanding insurance issues first.

                                                                                21            3.        Mediator Judge Glass [ret.] is in demand and her earliest availability is not until

                                                                                22 October 2022.

                                                                                23            4.        The Parties are currently coordinating a date with her for a mediation on Wednesday,

                                                                                24 October 12, 2022.

                                                                                25            5.        In the interest of judicial economy, the parties jointly propose that the hearing on

                                                                                26 Plaintiff’s Motion to Compel be rescheduled until after the mediation. The parties have obtained a

                                                                                27 possible alternative hearing date from the Court’s Judicial Executive Assistant of November 2, 2022

                                                                                28 and agree to that date.

                                                                                     25084640.1:10836-0086                          -2-              Case No. 2:21-cv-00284-APG-VCF
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                                                                                 1            WHEREFORE, the Parties hereby agree, subject to the Court's approval, that the

                                                                                 2 hearing on Plaintiff’s Motion to Compel [Doc 35] be continued from the current date of July

                                                                                 3 11, 2022 to November 2, 2022.

                                                                                 4            IT IS SO STIPULATED.

                                                                                 5          /s/ Brooke A. Bohlke                                /s/ Bonnie MacNaughton
                                                                                      By ________________________________              By ________________________________
                                                                                 6       BROOKE A. BOHLKE                                 CHRISTOPHER R. MILTENBERGER
                                                                                         Nevada Bar No. 9374                              Nevada Bar No. 10153
                                                                                 7                                                        10845 Griffith Peak Drive, Suite 600
                                                                                         NICHOLAS F. ADAMS
                                                                                         Nevada Bar No. 14813                             Las Vegas, NV 89135
                                                                                 8                                                        Attorneys for Plaintiff
                                                                                         2881 Business Park Court, Suite 200
                                                                                 9       Las Vegas, NV 89128-9020                         And/Or
                                                                                         Attorneys for Defendant
                                                                                10                                                        BONNIE MACNAUGHTON(pro hac vice)
                                                                                                                                          JOHN D. FREED (pro hac vice)
                                                                                11
WOOD, SMITH, HENNING & BERMAN LLP




                                                                                                                                          DAVIS WRIGHT TREMAINE LLP
                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405
                                    2881 BUSINESS PARK COURT, SUITE 200




                                                                                12                                                        920 5th Avenue, Suite 3300
                                        LAS VEGAS, NEVADA 89128-9020




                                                                                                                                          Seattle, WA 98104
                                                                                13                                                        Attorneys for Plaintiff
                                                Attorneys at Law




                                                                                14

                                                                                15

                                                                                16                 IT IS HEREBY ORDERED that the the hearing scheduled for July 11, 2022, is
                                                                                17                 RESCHEDULED to an in-person hearing at 10:00 AM, November 2, 2022,
                                                                                                   in Courtroom 3D.
                                                                                18

                                                                                19                                                  IT IS SO ORDERED.

                                                                                20
                                                                                                                                    ______________________________
                                                                                21                                                  Cam Ferenbach
                                                                                                                                    United States Magistrate Judge
                                                                                22                                                           7-8-2022
                                                                                                                                    DATED ________________________
                                                                                23

                                                                                24

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                                                                                     25084640.1:10836-0086                          -3-              Case No. 2:21-cv-00284-APG-VCF
                                                                                                             STIPULATION AND ORDER TO CONTINUE MOTION HEARING
                                                                                     Case 2:21-cv-00284-JCM-VCF Document 48 Filed 07/08/22 Page 4 of 9




                                                                                 1                                      CERTIFICATE OF SERVICE

                                                                                 2            I hereby certify that on this 8th day of July, 2022, a true and correct copy of STIPULATION

                                                                                 3 AND ORDER TO CONTINUE RE: [35] MOTION TO COMPEL HEARING (First Request)

                                                                                 4 was served via the United States District Court CM/ECF system on all parties or persons requiring

                                                                                 5 notice.

                                                                                 6

                                                                                 7                                              By      /s/ Raeann M. Todd

                                                                                 8                                                   an Employee of
                                                                                                                                     WOOD, SMITH, HENNING & BERMAN LLP
                                                                                 9

                                                                                10

                                                                                11
WOOD, SMITH, HENNING & BERMAN LLP


                                    TELEPHONE 702 251 4100 ♦ FAX 702 251 5405
                                    2881 BUSINESS PARK COURT, SUITE 200




                                                                                12
                                        LAS VEGAS, NEVADA 89128-9020




                                                                                13
                                                Attorneys at Law




                                                                                14

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                                                                                     25084640.1:10836-0086                          -4-              Case No. 2:21-cv-00284-APG-VCF
                                                                                                             STIPULATION AND ORDER TO CONTINUE MOTION HEARING
                  Case 2:21-cv-00284-JCM-VCF Document 48 Filed 07/08/22 Page 5 of 9


Raeann M. Todd

From:                                MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>
Sent:                                Thursday, July 7, 2022 4:48 PM
To:                                  Brooke A. Bohlke; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com; Nick Adams; Freed,
                                     Jake
Cc:                                  Raeann M. Todd
Subject:                             [EXTERNAL] RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing
Attachments:                         Stip and Order to Extend 7-11-22 Motion Hearing. v2 2022-07-07.docx


Thanks for your perseverance on this, Brooke. This all makes much more sense. I’ve taken the liberty of streamlining
our stipulation. You have my approval to add my signature and file it with these changes. We will send you a stipulation
to continue the case schedule in its entirety tomorrow and would like to file it tomorrow.

From: Brooke A. Bohlke <BBohlke@wshblaw.com>
Sent: Thursday, July 7, 2022 4:03 PM
To: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com; Nick
Adams <NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

[EXTERNAL]

Hi-

I have been on the phone all day attempting to pin down dates and ultimately selected them myself. The JEA was able
to talk to the Judge and let him know our difficulties in setting an earlier mediation with Judge Glass [ret.]. He agreed to
have the hearing after the mediation.

Attached is a revised SAO. I selected a mediation date for Wednesday October 12 and a new hearing date for
Wednesday November 2. If this hearing date does not work, the Court is available on November 21, 22, 28,
29. However, both the mediation and hearing are requested to be in person, so I wanted to be conscious of not
scheduling anything too close to the Thanksgiving holiday. I will be in town, but I know that you and your client will have
to travel.

I would like to file this/and or with any revisions as soon as possible. Please let us know when we have your approval to
attach an e-signature.

Thanks and have a good night.


Brooke A. Bohlke
Partner
WOOD SMITH HENNING & BERMAN LLP

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                                                                1
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From: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>
Sent: Thursday, July 7, 2022 11:58 AM
To: Brooke A. Bohlke <BBohlke@wshblaw.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com; Nick Adams
<NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: [EXTERNAL] RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

Hi. Thanks for this. Before we submit this, I’d like to pin down the mediation date. Is there any reason we can’t get that
on calendar so we can include it in both this stipulation and the case scheduling continuance request?

From: Brooke A. Bohlke <BBohlke@wshblaw.com>
Sent: Thursday, July 7, 2022 10:22 AM
To: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com; Nick
Adams <NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

[EXTERNAL]

Hi-

Attached is a proposed stipulation to continue the upcoming hearing. Please confirm your approval to attach your e-
signature.

Thank you.

PS- on a related note, how long do you propose that we request for an extension of the scheduling order? I propose 90
days from the date of the hearing because of the strict deadlines in Federal Court.

Let us know your thoughts. Thanks.


Brooke A. Bohlke
Partner
WOOD SMITH HENNING & BERMAN LLP

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From: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>
Sent: Wednesday, July 6, 2022 4:40 PM
To: Brooke A. Bohlke <BBohlke@wshblaw.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com; Nick Adams
<NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: [EXTERNAL] RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

Sounds like a plan.



                                                                2
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From: Brooke A. Bohlke <BBohlke@wshblaw.com>
Sent: Wednesday, July 6, 2022 4:37 PM
To: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com; Nick
Adams <NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

[EXTERNAL]

I can incorporate that into a separate sao. I will get this to you tomorrow and we will file them consecutively.


Brooke A. Bohlke
Partner
WOOD SMITH HENNING & BERMAN LLP

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From: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>
Sent: Wednesday, July 6, 2022 4:29 PM
To: Brooke A. Bohlke <BBohlke@wshblaw.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com; Nick Adams
<NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: [EXTERNAL] RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

Based on this, I’m comfortable setting the hearing for one of the below dates and either moving forward with it or
asking to move it again in September. That week, I can only do the 27th. If that works on your end, let’s press ahead
with what you suggest.

How about the case schedule continuance?

From: Brooke A. Bohlke <BBohlke@wshblaw.com>
Sent: Wednesday, July 6, 2022 4:18 PM
To: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com;
kellygorton@dwt.com; Nick Adams <NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

[EXTERNAL]

I completely agree with you and discussed the same with my client this morning.

However, I am also very familiar with this Judge and Nevada Federal Court. They are extremely strict with
continuances and deadlines and prefer that the parties file multiple requests for extensions. As you are
aware, unfortunately, the agreed upon mediator is not available until October and based upon my experience,
I believe that the Court would have denied a request (at this time), to continue the hearing after that date.



                                                                3
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My main concern is securing a new date for the hearing set for July 11 even if we do not think that the new
hearing date will go forward. I can reach out to the Court right now, but have an additional concern that his
clerk may provide dates and the stipulation is ultimately denied, leaving with us with an in person hearing on
July 11.

Alternatively, we can agree upon a date below and select a different mediator.

Let me know your thoughts.

Hope this information is helpful.



Brooke A. Bohlke
Partner
WOOD SMITH HENNING & BERMAN LLP

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From: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>
Sent: Wednesday, July 6, 2022 4:03 PM
To: Brooke A. Bohlke <BBohlke@wshblaw.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com;
kellygorton@dwt.com; Nick Adams <NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: [EXTERNAL] RE: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

Hi Brooke and all. At this point, I suggest we proceed as follows. We should confirm the mediation date at our earliest
opportunity and set this hearing for the day or two afterwards (depending on the judge’s calendar). I don’t think it
makes sense from an efficiency perspective to go through the discovery hearing in advance of the mediation. As I
mentioned in my earlier email, I’d like to mediate the matter in October rather than November, if possible. Given this, I
think we’re going to need to ask the Court to move the case schedule again for about four months. We have a number
of deadlines prior to the mediation/evidentiary hearing that will require significant work, including finishing all our
discovery and filing pretrial documents. That’s not practical with the dates we’re proposing. If you agree, we can draft
up a stipulation and order to move all pending dates.

We look forward to your thoughts.

From: Brooke A. Bohlke <BBohlke@wshblaw.com>
Sent: Tuesday, July 5, 2022 10:58 AM
To: MacNaughton, Bonnie <BonnieMacNaughton@dwt.com>; rosehilla@gtlaw.com; miltenbergerc@gtlaw.com;
kellygorton@dwt.com; Nick Adams <NAdams@wshblaw.com>; Freed, Jake <JakeFreed@dwt.com>
Cc: Raeann M. Todd <RTodd@wshblaw.com>
Subject: 7/11 Microsoft vs. Cheap Tech Guys - Evidentiary Hearing

[EXTERNAL]

Hi-

                                                                4
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Happy 4th of July. I am reaching out because I received the Judge’s availability to continue the evidentiary hearing
currently set for July 11, 2022. However, he has no availability until the following dates/times:

9-26 – all day;

9-27 after 11 am;

9-28 after 11 am;

9-29 all day; and

9-30 all day.

They will need a stipulation and order. I am already in the process of preparing a draft stipulation, but would like to
identify a specific date.

Thanks for your assistance.


Brooke A. Bohlke
Partner
WOOD SMITH HENNING & BERMAN LLP

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